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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                  4:18CR3087

      vs.
                                                                  ORDER
TRAVIS LEVI HIZAR,

                    Defendant.

      After an oral review of the defendant’s financial status, I find that the above-
named defendant is eligible for appointment of counsel pursuant to the Criminal Justice
Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of
Nebraska.

       IT IS ORDERED that Shirley Mora James is appointed as attorney of record for
the above-named defendant in this matter and shall forthwith file an appearance in this
matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing the
name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska and Shirley Mora James.

      DATED this 23rd day of July, 2018.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
